Case 2:03-cr-20118-SH|\/| Document 55 Filed 07/14/05 Page 1 of 2 PagelD 37

IN THE UNITED STATES DISTRICT COURT . _
FOR THE WESTERN DISTRICT OF TENNESSEE suingY--~-
WESTERN DIVISION

osJuL l¢. Pn 1853

UNITED STATES OF AMERICA,
Plaintiff, `VUH

V. CR. NO. 03-20118-Ma

MARECO CARAWAY,

\.d\./V`d\.dv`.¢\_d\_r

Defendant.

 

ORDER DIRECTING CLERK TO ISSUE WRIT OF HABEAS CORPUS

 

This matter is set for a re-sentencing hearing on
Thursday¢ Angust 25l 2005 at 1:30 p.m. The defendant, Mareco
Caraway, #18997-076, is confined as a prisoner at U.S. Penitentiary,
Big Sandy, Inez, Kentucky. It is necessary to have Mareco Caraway
appear in this court for the hearing.

IT IS THEREFORE ORDERED that the Clerk of Court issue a writ of
habeas corpus ad testificandum to the United States Marshal for the
Western District of Tennessee, and to the Warden, U.S. Penitentiary,

Big Sandy, Inez, Kentucky, to have said Mareco Caraway before this

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

/H

July h__________, 2005.

court for the hearing.

 

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Honorable Samuel Mays
US DISTRICT COURT

